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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                       Plaintiff(s),               CASE NUMBER: 05-80025
                                                   HONORABLE VICTORIA A. ROBERTS
v.

D-1 TIMOTHY DENNIS O’REILLY,

                Defendant(s).
_________________________________/

                                           ORDER

       The Court posed two questions: (1) should the four alternate jurors be

discharged at the conclusion of the guilt phase? (2) what happens if there is a penalty

phase and one or more of the original twelve jurors is unable to deliberate?

       The Government says the Court should retain the alternates based on United

States v. Johnson, 223 F.3d 665, 670 (7th Cir. 2000); United States v. Honken, 541

F.3d 1146, 1165-66 (8th Cir. 2008); and Battle v. United States, 419 F.3d 1292, 1301-

02 (11th Cir. 2005).

       Timothy O’Reilly relies on 18 U.S.C. §3593(b) to support his argument that the

alternates must be discharged after a verdict in the guilt phase. See 18 U.S.C.

§3593(b)(1) (“If . . . the defendant is found guilty of . . . an offense described in 3591,

the judge who presided at the trial . . . shall conduct a separate sentencing hearing to

determine the punishment to be imposed. The hearing shall be conducted[] before the

jury that determined the defendant’s guilt”) (emphasis added).

       In Goff v. Bagley, 601 F.3d 445 (6th Cir. 2010), a federal habeas case originating


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from the State of Ohio, an alternate juror who did not deliberate with the guilt-phase jury

but who heard all of the evidence in both phases of the trial, was allowed to take the

place of a sitting juror during the penalty phase. Goff, 601 F.3d at 467. The Sixth

Circuit said “[petitioner] has cited no caselaw to support his argument that the

substitution of an alternate juror-who was present for both the guilt-phase and penalty-

phase hearings but did not participate in the guilt-phase deliberation-for a sitting juror

before the commencement of penalty-phase deliberations is a constitutional violation,

nor could we find any.” Id. at 468.

       The Ohio death penalty statute is similar to the Federal Death Penalty Act. See

R.C. §2929.03 (the penalty shall be determined by the trial jury and the trial judge, if the

offender was tried by jury).

       The Court will follow this procedure: (1) the alternate jurors will not be discharged

when the jury begins its deliberations on O’Reilly’s guilt; (2) the Court will recall them to

hear the penalty phase evidence; and (3) if a member of the jury that deliberated on

O’Reilly’s guilt is discharged during the penalty phase for any reason, that individual will

be replaced with an alternate juror.

       IT IS ORDERED.


                                           s/Victoria A. Roberts
                                           Victoria A. Roberts
                                           United States District Judge

Dated: July 28, 2010




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 The undersigned certifies that a copy of this
 document was served on the attorneys of
 record by electronic means or U.S. Mail on
 July 28, 2010.

 s/Linda Vertriest
 Deputy Clerk




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